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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )          4:04CR3107-2
                                              )
                     Plaintiff,               )
                                              )
       vs.                                    )
                                              )          ORDER
DIANA STENSON,                                )
                                              )
                     Defendant.               )

       IT IS ORDERED that:

       (1)    The defendant’s unopposed motion to continue Rule 35 hearing (filing 102)
is granted.

      (2)     A hearing on the government’s motion for reduction of sentence pursuant to
Rule 35(b) (filing 92) has been reset before the undersigned United States district judge to
Tuesday, March 27, 2007, at 1:00 p.m., in Courtroom No. 1, United States Courthouse and
Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.

       (3)     At the request of the defendant through her counsel, the defendant will
participate in the hearing by telephone.

       (4)    The Marshal is directed not to return the defendant to the district.

       (5)    The defendant is held to have waived her right to be present.

       March 7, 2007.                     BY THE COURT:

                                          s/ Richard G. Kopf
                                          United States District Judge
